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                  IN THE UNITED STATES DISTRICT COURT

                      FOR THE DISTRICT OF COLUMBIA

MASSACHUSETTS LOBSTERMEN’S               )
ASSOCIATION, et al.,                     ) No. 1:17-cv-00406-JEB
                                         )
                             Plaintiffs, )
                                         )
                   v.                    )
                                         )
WILBUR J. ROSS, JR., in his official     )
capacity as Secretary of Department of )
Commerce, et al.,                        )
                                         )
                            Defendants, )
                                         )
NATURAL RESOURCES DEFENSE                )
COUNCIL, et al.,                         )
                                         )
                Defendant-Intervenors. )


         NOTICE OF APPEAL; CERTIFICATE STATING NO
  TRANSCRIPT WILL BE ORDERED; REPRESENTATION STATEMENT


TO THE ABOVE-REFERENCED COURT AND TO ALL PARTIES AND THEIR

RESPECTIVE ATTORNEYS OF RECORD:

      PLEASE TAKE NOTICE that Plaintiffs Massachusetts Lobstermen’s

Association, Atlantic Offshore Lobstermen’s Association, Long Island Commercial

Fishing Association, Garden State Seafood Association, and Rhode Island

Fishermen’s Alliance hereby appeal to the United States Court of Appeals for the

District of Columbia Circuit from the order and opinion of this Court granting the

motion to dismiss entered on October 5, 2018 (Dkt. 46 & 47).




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              Certificate Stating No Transcript Will Be Ordered

      Pursuant to Federal Rule of Appellate Procedure 10(b)(1)(B), Plaintiffs

Massachusetts Lobstermen’s Association, et al., give notice that no transcript will be

ordered for the present appeal.

                           Representation Statement

      Pursuant to Rule 12(b) of the Federal Rules of Appellate Procedure, all parties

to the action are listed below along with the names, addresses, and telephone

numbers of their respective counsel.

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official capacity as Deputy Undersecretary for Operations for the National
Oceanic and Atmospheric Association; Ryan Zinke, in his official capacity
as Secretary of the Department of Interior; Donald J. Trump, in his official
capacity as President of the United States; and Jane Doe, in her official
capacity as Chairman for the Council on Environmental Quality:

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      DATED: December 3, 2018.

                                       Respectfully submitted:


                                              /s Jonathan Wood
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                              Certificate of Service

      I hereby certify that on December 3, 2018, I electronically transmitted the

attached document to the Clerk of Court using the ECF System for filing. Based on

the records currently on file, the Clerk of Court will transmit a Notice of Electronic

Filing to the following ECF registrants:

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      I further certify that one of the participants in the case are not registered

CM/ECF users. I have mailed the foregoing document by First-Class Mail, postage

prepaid, to the following non-CM/ECF participant:

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                                       s/ Jonathan Wood____________________
                                       JONATHAN WOOD




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